Case 5:20-cv-02132-PVC Document 21 Filed 12/03/21 Page 1 of 1 Page ID #:1240


                                                                          JS-6
  1
  2
  3
  4
                              UNITED STATES DISTRICT COURT
  5
  6
                            CENTRAL DISTRICT OF CALIFORNIA

  7                                    EASTERN DIVISION
  8
  9
      LORENZO DEL RIO,                                     ) No. 5:20-cv-02132-PVC
 10                                                        )
             Plaintiff,                                    )
 11                                                        ) JUDGMENT
                    v.                                     )
 12                                                        )
                                                           )
 13   KILOLO KIJAKAZI, Acting                              )
      Commissioner of Social Security,                     )
 14                                                        )
                                                           )
 15
      Defendant.1                                          )
                                                           )
 16                                                        )
                                                           )
 17                                                        )
 18
 19          Having approved the parties’ joint stipulation to voluntary remand
 20   pursuant to sentence four of 42 U.S.C. § 405(g) and to entry of judgment, THE
 21   COURT ADJUDGES AND DECREES that judgment
                                      j g      is entered for Plaintiff.
 22   Date: December 3, 2021
 23                                             HON. PEDRO V. CASTILLO
                                                United States Magistrate Judge
 24
 25
      1
 26    Kilolo Kijakazi became the Acting Commissioner of Social Security on July 9, 2021.
      Pursuant to Rule 43(c)(2) of the Federal Rules of Appellate Procedure, Kilolo Kijakazi
 27   should therefore be substituted for Andrew Saul as the defendant in this suit. No further
 28   action need be taken to continue this suit by reason of the last sentence of section 205(g)
      of the Social Security Act, 42 U.S.C. § 405(g).


                                                  -1-
